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EXHIBIT
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IN 'I`HE DXSTRKCT COUR'I` OF THE FOURTH JUDICIAL DIS'Z`RICT

OF THE STATE OF IDAHO, COUNTY OF ADA.

SAMUEL DIAZ, an individuai,

Plaintifi`,
vs.

GENERAL I'NFORMATION SERVICES, INC., a

foreign cocporation,

Defendant.

§§ BC i,é@ZéG&

Case No.

COMPLAINT WI'I`H DEMA.NB
FGR JURY TR§AL

 

 

For his cause of action against Defendant, Plaintiff Samuei Diaz, by and through his

attorneys of record, Thomas Wiiiiams & P'ark, LLP, complains and alleges:

RODUCTION

This is a civi! action based on violations of the Fa.ir Credit Reporting Act ("FCRA”) due

to General Information Services, Inc (“GXS”) reporting of inaccurate criminal history about

Plaintiff. 'l`his inaccurate criminal background check was reported to P!aimift’s empioyer. The

erroneous criminal conviction resuited in Piaintiff’s employment tennination.

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JURISDICTEON,, VENUE ANB P’-ARTI.ES
1. All jurisdictional requirements for filing in the Disirict Court are satisfied

2. This action arises under the FCRA, 15 U.S.C §1681, et scq. This Couxt has
jurisdiction over Plaintiff’s claims pursuant to 15 U.S.C. §1681;).

3. Defendant’s unlawful actions were committed within the State of ldaho, Ccumy
of Ade and venue is proper pursuant to I.C. § 5-404.

4. Pleintiff resides in Canycn County, idaho and is a “person” under the i-`CRA, 15
USC §1681a(b).

5. Defendant General Infonnation Services, Inc., is a “consumer reporting agency”
as defined by the FCRA, 15 U.S.C. §168la(t) and a “consumer reporting agency that compiles
and maintains files on consumers on a nationwide basis," 15 U.S.C. §1681a(p). Although not
registered with the Idaho Sccre£ary of Statc, Defendant does business in the State of idaho
pursuant to I.C. § 5-514(a).

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6. Plaintiff incorporates paragraphs l through 5 above

7. The staffing agency, Ofiice Team, a Robert Half Intemational, inc. company,
placed Plaintif.'t` with NYK Lines to stan a position October 16, 2014.

8. Defendant issued to Robert Half Intemational, lnc. and NYK Lines a “consumer
report,” as defined by 15 U.S.C. §lGSla(d)(l}(B), for “employment purposes," as defined by 15
U.S.C. §1681a(h}. This consumer report included a criminal background check.

9. October 27, 2014, OH`lce Team contacted Plaintit`i`, terminated his employment
and told him not to return to work because his background check indicated he was convicted of a

felony. Such action constitutes an “adverse action” as defined by 15 U.S.C. §16813(1<).

COMPLAINT WITH DEMAND FOR JURY TRIAL, §*age 2

 

 

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lO. fletcher 30, 2014, Deiendant provided a copy of the criminal background check
to Plaintifi`. The criminal background check indicated that Sarnuel Anthony Diaz committed a
felony and was convicted in December 2009.

11. The felony conviction was erroneously reported as being committed by Plaintiff.
Thc individual whom committed the crime had s different name than Piaintilf, a middle name to
which Plaintiff has none, a different date of birth and a different social security number.

12. Plaintiff contacted Ofiice Team and informed them the criminal report was
wrong. Plaintifl` obtained supporting documentation Decernber lS, 2014, Plaintifi` submitted to
Oiiicc Team documentation demonstrating that the felony conviction was en'oneous. Howcver,
Ofiice Team still refused to find Plsintiff other employment

13. Plaintiff submitted to Defendant a Dispute Process Request form with attachments
clarifying that he was not Samuel Antliony Diaz convicted of the crime Defendnnt did not
respond.

14. Due to the criminal conviction reported wrongly, Plaintifl" remained unemployed
for three months Once cmp!oyed, he was paid less than his prior employment end does not have
benefits

15. August 5, 2015, Plaintiti’s counsel sent Defendant a demand letter requesting
removal of the erroneous criminal conviction

16. August 28, 2015, Defendant'responcled and verified that the criminal background
check erroneously reported Piainti&` as having a criminal conviction

FIRST CLAIM FOR RELIEF
Violation of 15 USC §1681!\

17. Plaintifi`inoomorates paragraphs 1 through 16 above

COMPLAINT WITH DEMAND FOR JURY TRIAL, l’age 3

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18.' GIS- willfully failed to comply with the requirements imposed under the FCF.A,
15 U.»S.C. §168'1, ct'seq, including but not limited to:

'lS.l Failing to follow reasonable procedures to assure maximum possible
accuracy of the information in consumer reports, as required by 15 U.S.C. §l€i$le(b), by
not verifying Plfaintiff’s name, date of birth and social security matched thc individual
with the criminal conviction;

18.2 Failing to comply with the reinvestigation requirements of 15 U.S.C.
§168 l'i(a)(l)(A) by not responding to Piaintiff‘s dispute initially iiled;

1'8.`3 Failing to comply with the requirement of l$ U.S.C. §168lk(a) §
maintaining strict procedures to insure that when public record information, such as a
criminal record, is likely to have an adverse effect on the individual’s ability to obtain
employment is reported such information is complete and up~to-date.

19. As' a result oi:GlS’s violations of the FCRA, Plaintiff has suffered, continues to
suffer, and will suffer future damages, including loss of employment, denim ofjob opportunities
damage to reputation, worry, distress, frustration, embarrassment, and humiliation, all to his
damages, in an amount to be determined by the}ury.

20. Plaintiff is entitled to punitive damages in an amount to be determined by the
jury.

2 l . Plaintiff is entitled to actual damages in an amount to be determined by the jury in
addition to any statutory damages in an amount to be determined by the Court.

22. Plaintili" is entitled to attorney fees pursuant to 15 U.S.C. §léSln(a).

SECOND CLA!M FOR RELIEF

Violation ol' 15 U.S.C. §16810

23. Plaintii`l" incorporates paragraphs l through 22 above.

COMPLAINT WITH DEMAND FOR JURY 'E`R{AL, Pagc 4

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24=. Gl$ negligently failed to comply with the requirements imposed under the FCRA,
including but. not limited to:

24.1. F ailing to follow reasonable procedures to assure maximum possible
accuracy of the information in consumer reports, as required by 15 U.S.C. §lSBle(b)_, by
not verifying Pl'aintifi’s narne, date of birth and social security matched the individual
with the criminal ccnviction;

24,2. Failing to comply with the reinvestigation requirements in 15 U.S.C.
§`168 li by not responding to Plaintiff’s initial dispute;

24.3. Failing to comply with the requirement of 15 U.S.C. §léSlk(a) by
notifying the individual whose record is being reported or maintaining strict procedures
to insure that when public record information such as a criminal record, is likely to have
an adverse effect on the individual’.s ability to obtain employment is reported such
information is complete and up-ro-date_ 1
25. As a result of GIS’s violations of the FCRA, Plaintiff has suH`cred, continues to

sui"fer; and will suffer fixture damages including loss ofempl_oyment, denial ot`job opportunities
damage to reputa_t`ion, worry, distress, frustration, embarrassment, and humiliation, alito his
damages, in an amount to be determined by the jury.
26. PlaintiH`is entitled to actual damages in an amount to bc determined by thejury.
'27. Plaintiif is entitled to recover his attorney fees pursuant to 15 U.S._C. §16810(a).

THERD CLA.XM FOR RELIEF
Dcfamation

28. Plaintif`r` incorporates paragraphs l through 27 above
29. G'IS acted with reckless disregard for the trulh in publishing the background check

with~the criminal report falsely and wrongly-accusing Plaintiff of having a criminal record by

COMPLAINT WI'I`H DEMAND FOR JURY TRlAL, Page 5

 

 

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committing the alleged crime GIS failed to properly investigate the criminal report and acted
recklessly by not identifying the different name, date of birth and social security number between

Plaintiff and the individual with the criminal record.

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30. Evcn after notification by Plaintiff that the background check was incorrect GlS "_
' acted maliciously by not correcting the false criminal report in a timely manner and intentionally
" continuing to publish the false information about Plaintiff’s.criminal background

31. - GIS published the false criminal report to Robert Half loternational, Inc and NYK
Linoe causing N'YK Lines to terminate plaintiffs employment.

32. As~a direct and proximate result of the publication of the false criminal report,
Plaintiff' s employment was terminated and he has not obtained employment since publication of
the false criminal report -

PRAYER FOR REL!EF

WHEREFORE, Plaintiff prays for relief as follows:

l. On Plaintift`s Fixst Clairn for Relief for willful violations ofthe FCRA against
Defendant: .

a. Actual damages in an amount to be determined ;

b. Plaintiff hereby provides notice that he intends, pursuant to l.C. § 6-1604(2),
move the Court to allow him to amend this Prayer to include a prayer for
relief to seeking punitive damages;

c. Statutory damages as determined by the court;

d. Attorney fees and costs pursuant to 15 U.S.C. § t681n, as well as I.C. l2-121.

2. On Plaintist Second Claim for Reliel" for negligent violations of the FCRA

against Defendant:

COMPLAIN'I` WZTH DEMAND FOR JURY TRZAL, ?age 6

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a.- Actual damages in an amount to be determined by the jury;
b~. ~Attomejy fees and costs, pursuant to 15 U.S.C. § 16710, as well as I.C. lZ-lZl..
3. On Plai_ntlfi"s 'l`hird Clairn for Relief for Dcfamation:
a. ' Actual damages in an amount to be determined;
b. Plaintift` hereby provides notice that he intends, pursuant to I.C. § 6-»
1604(2), move the Court to allow him to amend this Prayer to include a
prayer for relief to seeking punitive damages;
c. Attomey fees and costs pursuant to I.C. l.2~l2l.
4. Tliat Plainti€t`he awarded such other and further legal and equitable relief as may
be found appropriate and as the Court may deem just or equitable
J`URY DEMAND
Plaintiff hereby demands ajury trial on all issues
DATED this Q:`}'§’day of February, 2016.
_` "lel`OMAS, WILLIAMS &. PARK, LP

 
 

  

  

 
 
 
 
  
 

  

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`E. Wt ins
Attomeys for Plaintiff

COMPLA'»!NT WI'I"H DEMAND FOR JURY TRIAL, Page 7

